Case 1:21-cv-07700-VSB-SN Document 140

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

xX
SECURITIES AND EXCHANGE
COMMISSION,
Plaintiff,
-against-
SIMON PIERS THURLOW, et al.,
Defendants.
Xx

SARAH NETBURN, United States Magistrate Judge:

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DOC #:
DATE FILED: 9/10/2025

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21-CV-07700 (VSB)(SN)

ORDER

On December 23, 2024, the Honorable Vernon S. Broderick set deadlines for Defendants

to file a motion based on Loper Bright Enterprises v. Raimondo. ECF No. 124. These deadlines

are now ADJOURNED without further date.

SO ORDERED.

ft— Hen ——

SARAH NETBURN
United States BURN Judge

DATED: February 10, 2025
New York, New York
